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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §   CRIMINAL ACTION NO. C-07-628-13
                                               §
JESSE SOLIZ                                    §

                                           ORDER

       The motion to withdraw as attorney for Defendant Jesse Soliz filed by attorney Bruce C.

Matzke (D.E. 337) is DENIED.

       SIGNED and ORDERED this 12th day of May, 2008.


                                               ___________________________________
                                                        Janis Graham Jack
                                                     United States District Judge




1/1
